Case 1:04-cv-01217-.]DT-STA Document 24 Filed 07/05/05 Page 1 of 2 PagelD 32

 

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United States District Court“ -'1;:_;,1

WESTERN DISTRICT oF TENNESSEE ‘-' ~ :x?<\;;@ @-x?x
Eastcrn Division ‘9<//// ‘*"

BRENDA HAYES JuDGMENT iN A civlL cAsE/F/

V.

JO ANN B. BARNHART,
Commissioner of Social Security CASE NU|\/|BER: 04-12‘| 7-T

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

lT |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 07/01/05, the decision of the Commissioner is REVERSED.

Disabi|ity insurance benefits and supplemental security income benefits are awarded
based on Plaintiff's application of February 11, 2002.

APPROVED:

Qi/WB»M

S D. TODD
UNI ED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

